Global Sea Level Rise Scenarios for the
United States National Climate Assessment
December 6, 2012




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Global Sea Level Rise Scenarios for the United States
National Climate Assessment


Climate Program Office (CPO)
Silver Spring, MD




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December 2012




UNITED STATES                  NATIONAL OCEANIC AND            Office of Oceanic and
DEPARTMENT OF COMMERCE         ATMOSPHERIC ADMINISTRATION      Atmospheric Research

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                                                                                                    P00000094575
                                                                                         Executive Summary
Global sea level rise (SLR) has been a persistent trend              Scenario Planning
for decades. It is expected to continue beyond the end
                                                                     Scenarios do not predict future changes, but describe
of this century, which will cause significant impacts
                                                                     future potential conditions in a manner that supports
in the United States (US). Over eight million people
                                                                     decision-making under conditions of uncertainty.
live in areas at risk to coastal flooding, and many of
                                                                     Scenarios are used to develop and test decisions
the nation’s assets related to military readiness, energy,
                                                                     under a variety of plausible futures. This approach
commerce, and ecosystems are already located at or
                                                                     strengthens an organization’s ability to recognize,
near the ocean.
                                                                     adapt to, and take advantage of changes over time.
Past trends provide valuable evidence in preparing                   Using a common set of scenarios across different
for future environmental change but, by themselves,                  regions and sectors to frame the range of uncertainties
are insufficient for assessing the risks associated with             surrounding future environmental conditions is a
an uncertain future. For example, a number of recent                 relatively new and evolving initiative of the NCA. This
studies project an increase in the rate and magnitude                report provides scenarios to help assessment experts
of global SLR. The US Congress recognizes the need                   and their stakeholders analyze the vulnerabilities and
to consider future trends in the Global Change                       impacts associated with possible, uncertain futures.
Research Act (USGCRA), which calls for a National
                                                                     Probabilistic projections of future conditions are
Climate Assessment (NCA) every four years. This
                                                                     another form of scenarios not used in this report
report provides a synthesis of the scientific literature
                                                                     because this method remains an area of active
on global SLR at the request of a federal advisory
                                                                     research. No widely accepted method is currently
committee charged with developing the next NCA.
                                                                     available for producing probabilistic projections of sea
This report also provides a set of four global mean
                                                                     level rise at actionable scales (i.e. regional and local).
SLR scenarios to describe future conditions for the
                                                                     Coastal management decisions based solely on a most
purpose of assessing potential vulnerabilities and
                                                                     probable or likely outcome can lead to vulnerable
impacts.
                                                                     assets resulting from inaction or maladaptation. Given
A wide range of estimates for future global mean                     the range of uncertainty in future global SLR, using
SLR are scattered throughout the scientific literature               multiple scenarios encourages experts and decision
and other high profile assessments, such as previous                 makers to consider multiple future conditions and to
reports of the NCA and the Intergovernmental Panel                   develop multiple response options. Scenario planning
on Climate Change (IPCC). Aside from this report,                    offers an opportunity to initiate actions now that
there is currently no coordinated, interagency effort                may reduce future impacts and vulnerabilities. Thus,
in the US to identify agreed upon global mean SLR                    specific probabilities or likelihoods are not assigned to
estimates for the purpose of coastal planning, policy,               individual scenarios in this report, and none of these
and management. This is an important gap because                     scenarios should be used in isolation.
identifying global mean SLR estimates is a critical
step in assessing coastal impacts and vulnerabilities.               Global Mean SLR Scenarios
At present, coastal managers are left to identify global
SLR estimates through their own interpretation of                      We have very high confidence (>9 in 10 chance)
the scientific literature or the advice of experts on                  that global mean sea level will rise at least 0.2
an ad-hoc basis. Yet, for a great majority of the US                   meters (8 inches) and no more than 2.0 meters
coastline, relative sea level (RSL)1 has been rising over              (6.6 feet) by 2100.
the past 60 years, consistent with the global trend.
                                                                     In recent decades, the dominant contributors to global
                                                                     sea level rise have been ocean warming (i.e. thermal
 Relative sea level – The height of the sea with respect to a
1
                                                                     expansion) and ice sheet loss. The relative magnitude
 specific point on land.


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Executive Summary
of each of these factors in the future remains highly         The Intermediate-High Scenario allows experts and
uncertain. Many previous studies, including the IPCC,         decision makers to assess risk from limited ice sheet
assume thermal expansion to be the dominant                   loss. The Intermediate Low Scenario allows experts
contributor. However, the National Research Council           and decision makers to assess risk primarily from
(NRC) recently reports that advances in satellite             ocean warming.
measurements indicate ice sheet loss as a greater
contribution to global SLR than thermal expansion             The Lowest Scenario is based on a linear extrapolation
over the period of 1993 to 2008. Our scenarios are            of the historical SLR rate derived from tide gauge
based on four estimates of global SLR by 2100 that            records beginning in 1900 (1.7 mm/yr). Global sea
reflect different degrees of ocean warming and ice sheet      level has risen 0.2 meters (8 inches) over this period
loss (Table ES-1 and Figure ES 1).                            of record, and we anticipate at least 8 inches by 2100.
                                                              The rate of global mean SLR derived from satellite
Table ES-1. Global SLR Scenarios                              altimetry (1992 to 2010) has been substantially higher
                                                                      (3.2 mm/yr), approaching twice the rate of
        Scenario               SLR by 2100 (m)* SLR by 2100 (ft)*     the longer historical record from tide gauges.
                                                                      However, the 18-year altimeter record is
  Highest                                  2.0            6.6
                                                                      insufficient in duration for projecting century-
  Intermediate-High                        1.2            3.9         scale global SLR. Trends derived from shorter
  Intermediate-Low                         0.5            1.6         records are less reliable as projections because
  Lowest                                   0.2            0.7         they are affected by interannual and decadal
* Using mean sea level in 1992 as a starting point.                   climate and oceanographic patterns that are
                                                                      superimposed upon the long-term rise of global
                                                              sea level. The Lowest Scenario should be considered
Key Uncertainties on Global SLR                               where there is a great tolerance for risk.
At this stage, the greatest uncertainty surrounding
                                                              There is a highly significant correlation between
estimates of future global SLR is the rate and
                                                              observations of global mean SLR and increasing
magnitude of ice sheet loss, primarily from Greenland
                                                              global mean temperature, and the IPCC and more
and West Antarctica. Our Highest Scenario of global
                                                              recent studies anticipate that global mean sea level
SLR by 2100 is derived from a combination of
                                                              will continue to rise even if warming ceases. Our
estimated ocean warming from the IPCC AR4 global
                                                              Intermediate-Low and Lowest Scenarios are optimistic
SLR projections and a calculation of the maximum
                                                              scenarios of future environmental change assuming
possible glacier and ice sheet loss by the end of the
                                                              rates of ice sheet loss and ocean warming slightly
century. The Highest Scenario should be considered
                                                              higher or similar to recent observations.
in situations where there is little tolerance for risk (e.g.
new infrastructure with a long anticipated life cycle         RSL is highly variable over time and along different
such as a power plant).                                       parts of the US coast. Changes in vertical land
                                                              movement and ocean dynamics may be applied with
Our Intermediate-High Scenario is based on an
                                                              different degrees of confidence based on available
average of the high end of semi-empirical, global
                                                              regional or local data. For example, changes in RSL
SLR projections. Semi-empirical projections utilize
                                                              observed over multiples decades in the Pacific Ocean
statistical relationships between observed global sea
                                                              basin demonstrate that regional-to-global-scale climate
level change, including recent ice sheet loss, and air
                                                              factors can cause ocean basin-scale patterns that may
temperature. Our Intermediate-Low Scenario is
                                                              persist for a few decades. In the Pacific Northwest,
based on the upper end of IPCC Fourth Assessment
                                                              upward vertical land movement reduces RSL on the
Report (AR4) global SLR projections resulting from
                                                              coast of Alaska and parts of Washington and Oregon.
climate models using the B1 emissions scenario.

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In the Mississippi River Delta, coastal subsidence                   should factor in locally and regionally specific
increases RSL. As such, individual regions should                    information on climatic, physical, ecological, and
expect a set of additional processes beyond global SLR               biological processes and on the culture and economy
that may influence estimates of regional and local sea               of coastal communities. Scientific observations at the
level change. To provide the level of detail required for            local and regional scale are essential to action, and
sound coastal assessments, regional and local experts,               long-term coastal management actions (e.g. coastal
including the NCA chapter authors, are needed                        habitat restoration) are sensitive to near-term rates
to evaluate regional and local ocean dynamics and                    and amounts of SLR. However, global phenomena,
vertical land movement and make specific adjustments                 such as SLR, also affect decisions at the local scale,
to global scenarios.                                                 especially over longer time horizons. Thousands of
                                                                     structures along the US coast are over fifty years
SLR and Coastal Flooding                                             old, including vital storm and waste water systems.
It is certain that higher mean sea levels increase the               Thus, coastal vulnerability, impact, and adaptation
frequency, magnitude, and duration of flooding                       assessments require an understanding of the long-
associated with a given storm, which often have                      term, global, and regional drivers of environmental
disproportionately high impacts in most coastal                      change.
regions. Extreme weather events will
continue to be the primary driver of the
highest water levels. However, a consensus
has not yet been reached on how the
frequency and magnitude of storms may
change in coastal regions of the US. The
greatest coastal damage generally occurs
when high waves and storm surge occur
during high tide. In many locations along
the US coast, small increases in sea level over
the past few decades already have increased
the height of storm surge and wind-waves.
Thus, considering the impact of different
weather events combined with scenarios of
SLR is crucial in developing hazard profiles
                                                Figure ES 1. Global mean sea level rise scenarios. Present Mean Sea Level
for emergency planning and vulnerability, (MSL) for the US coasts is determined from the National Tidal Datum
impact, and adaptation assessments.             Epoch (NTDE) provided by NOAA. The NTDE is calculated using tide gauge
                                                      observations from 1983 – 2001. Therefore, we use 1992, the mid-point of
Conclusion                                            the NTDE, as a starting point for the projected curves. The Intermediate-
                                                      High Scenario is an average of the high end of ranges of global mean
Based on a large body of science, we                  SLR reported by several studies using semi-empirical approaches. The
identify four scenarios of global mean SLR            Intermediate Low Scenario is the global mean SLR projection from the
ranging from 0.2 meters (8 inches) to 2.0             IPCC AR4 at the 95% confidence interval.
meters (6.6 feet) by 2100. These scenarios
provide a set of plausible trajectories of global mean
SLR for use in assessing vulnerability, impacts, and
adaptation strategies. None of these scenarios should
be used in isolation, and experts and coastal managers



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1. Report Background                                        For these reasons, the NCA Development and
                                                            Advisory Committee (NCADAC), a federal advisory
Global sea level rise (SLR) has been a persistent
                                                            committee charged with writing the next NCA, have
trend for decades. It is expected to continue beyond
                                                            requested this report. The Scenarios Working Group
the end of this century, which will cause significant
                                                            (SWG) of the NCADAC is considering climate, sea
impacts in the United States (US). Over 8 million
                                                            level rise, land use-land cover, and socioeconomic
people live in areas at risk to coastal flooding
                                                            scenarios. This report provides a synthesis of the
(Crowell et al. 2010). Along the Atlantic Coast of
                                                            scientific literature on global SLR and a set of four
the US alone, almost 60 percent of the land within a
                                                            scenarios of future global SLR. The report includes
meter of sea level is planned for further development,
                                                            input from national experts in climate science,
with inadequate information on the potential rates
                                                            physical coastal processes, and coastal management.
and amount of SLR (Titus et al. 2009). Many of the
nation’s assets related to military readiness, energy,      2. Using Scenarios for
commerce, and ecosystems that support resource-                 Coastal Risk Analysis
dependent economies are already located at or near
the ocean, thus making them exposed to SLR.                 Scenarios do not predict future changes, but describe
                                                            future potential conditions in a manner that supports
Evidence for global mean SLR has been increasingly          decision-making under conditions of uncertainty
documented in assessments of the Intergovernmental          (Moss et al 2010, Gray 2011, Weeks et al 2011).
Panel on Climate Change (IPCC), the National                Scenarios are used to develop and test decisions under
Research Council (NRC), and a growing body of               a range of plausible futures. This approach strengthens
peer-reviewed scientific literature (IPCC 2001,             an organization’s ability to recognize, adapt to, and
IPCC 2007a, Church et al. 2011). The IPCC is                take advantage of changes over time. Using a common
currently in the process of revising projections            set of scenarios across different regions and sectors to
of global mean SLR, drawing on the knowledge                frame the range of uncertainties surrounding future
and data of the international science community.            environmental conditions is a relatively new and
Similarly, the NRC recently established a panel to          evolving initiative of the NCA.
assess SLR in California, Oregon, and Washington.
State and local governments and the US Army Corps           There are many different approaches to developing
of Engineers (USACE) also are developing or have            and applying scenarios (Moss et al 2010, Henrich et
already developed their own SLR projections for             al 2010). Scenarios differ in terms of, among other
coastal planning, policy, and management from the           things: varying degrees of qualitative and quantitative
existing body of scientific literature (USACE 2011,         information, the goals for use of the scenarios, and
SFBCDC 2011, SFRCCC, 2011, MDEP 2009,                       the context for the development of the scenario.
MCCC 2008, Horton 2010, Horton 2011).                       The purpose may be to explore the consequences
                                                            of alternative response options; identify impacts of
There is currently no coordinated, interagency effort       uncertain future conditions; or develop a consensus
in the US to identify agreed upon estimates for future      response option (McKenzie et al 2012). This report
global mean SLR for the purpose of coastal planning,        provides scenarios to aid assessment experts and their
policy, and management. This is an important gap            stakeholders in analyzing the vulnerabilities and
because identifying global mean SLR estimates               impacts associated with possible, uncertain futures.
is a critical step in assessing coastal impacts and         Specifically, we provide scenarios to help assess the key
vulnerabilities. At present, coastal managers are left      uncertainties surrounding estimates of future global
to identify global SLR estimates through their own          SLR: the rates and magnitudes of ocean warming
interpretation of the scientific literature or the advice   (i.e. ocean warming) and ice sheet loss (NRC 2012,
of experts on an ad-hoc basis.                              Horton et al 2010).


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Probabilistic projections of future conditions are                   ocean temperature, melting and increased discharge of
another form of scenarios not used in this report. An                land-based ice (i.e. glaciers, ice caps, and ice sheets in
early attempt to derive a probability distribution for               Greenland and Antarctica), and changes in runoff (e.g.
global SLR combines probabilities associated with                    dam construction or groundwater withdrawal) (Figure
major components such as thermal expansion and                       1). Earth’s climate, and consequently the sea level,
ice sheet loss (Titus and Narayanan 1995). Given                     respond to cycles of alternating glacial and interglacial
the degree of uncertainty surrounding the different                  conditions over millions of years, with a periodicity of
components of future global SLR, this approach is still              about 100,000 years (Kawamura et al. 2007).
considered experimental. Horton et al. (2011) provide
probable SLR estimates for New York City for
the 2020s, 2050s, and 2080s based on certain
assumptions. However, this approach requires
extensive expertise, computing resources,
and substantial prior research, not typically
available for many locations of the US. No
widely accepted method is currently available
for producing probabilistic projections of SLR
at actionable scales (i.e. regional and local).
Coastal management decisions based solely
on a most probable or likely outcome can lead
to vulnerable assets resulting from inaction or
maladaptation (Weeks et al 2011, Gray 2011).
Given the range of uncertainty in future global Figure 1. Causes of sea level change. (IPCC 2001)
SLR, using exploratory scenarios in coastal
planning offers an opportunity to overcome decision-        Geological evidence from approximately 120,000
making paralysis and initiate actions now that may          - 130,000 years ago during the last interglaciation
reduce future impacts and vulnerabilities. Using            (LIG), a period when the configuration of Earth’s ice
multiple scenarios encourages experts and decision          sheets was similar to that of today, suggests that global
makers to rehearse multiple future conditions and to        sea level rise rates of a meter or more per century are
develop multiple response options. Thus, we do not          possible (Rohling et al. 2008; Berger 2008). Changes in
assign specific probabilities or likelihoods to individual  Earth’s orbit during the LIG raised global temperatures
scenarios because none of these scenarios should be used    to values slightly warmer than present (Otto-Bliesner
in isolation. We provide two intermediate scenarios         et al. 2006; Overpeck et al. 2006), causing losses from
to avoid the interpretation of a single intermediate        the Greenland and Antarctic ice sheets that contributed
scenario as most likely. Our approach is consistent         substantially to higher seas (Otto-Bliesner et al. 2006;
with US Army Corps of Engineers (USACE) guidance            Overpeck et al. 2006; Hearty et al. 2007; Kopp
for coastal decision makers, (USACE 2011) and draws         et al. 2009; McKay et al. 2011). Although sea level
on several commonly used methodologies as the basis         variability during the LIG is only a partial analogue for
for developing scenarios (Henrich et al 2010, Weeks         this century, it nonetheless informs the assessment of
et al 2011).                                                our scenarios, particularly those that reflect greater ice
                                                            sheet loss. Geologic evidence of the past 2,000 years
 3. Historical Sea Level Trends                             suggests that global mean SLR has been relatively
Global SLR is the result of the change in the volume        stable (approximately -0.1 mm/yr to 0.6 mm/yr) until
of water in the oceans due primarily to changes in          the late 1800s or early 1900s (Kemp et al. 2011).


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Since 1900, global mean sea level has been rising at a              Satellite measurements reveal important variations
rate of approximately 1.7 mm/yr as recorded by tide                 in global mean sea level between and within ocean
gauges (Church and White 2011). Measurements                        basins (Figure 2). For example, large-scale climate
from satellite altimetry data, beginning in the                     patterns that fluctuate over years to decades, such as
early 1990s, suggest that this rate has increased to                the Pacific Decadal Oscillation (PDO), the North
approximately 3.2 mm/yr (Ablain et al. 2009, Church                 Atlantic Oscillation (NAO), and the El Niño Southern
and White 2011). The apparent recent acceleration in                Oscillation (ENSO), may cause variations in the
global SLR recorded with satellite altimetry may be                 Pacific Ocean, the Gulf of Mexico, and the Atlantic
attributed to a combination of decadal-scale climate                Ocean. These variations in mean sea level are referred
                                                                    to as anomalies (see Appendix 1). The cause of these
and oceanographic patterns, differences in tide
                                                                    anomalies is still an active area of scientific research.
gauge and altimetry observation methodologies and
measurement distribution, and an acceleration of                    Tide gauges reveal variations in relative sea level (RSL)2
global SLR associated with global warming.                          resulting from additional local factors such as vertical




Figure 2. Geographic variability in the rate of global sea level change (1992 to 2010) based on three satellite records: TOPEX,
Jason 1 and Jason 2 (Figure source: NOAA Laboratory for Satellite Altimetry – Accessed November 2, 2011).




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     elative sea level – The height of the sea with respect to a
    R
    specific point on land.

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  Figure 3. Relative Sea Level (RSL) Variations of the United States (1854 to 2006). Derived from 128 National Water
  Level Observation Network Stations. Source: Department of Commerce (DOC), National Oceanic and Atmospheric
  Administration (NOAA), National Ocean Service (NOS), Center for Operational Oceanographic Products and Services
  (CO-OPS) - http://tidesandcurrents.noaa.gov/sltrends/sltrends.shtml (accessed August 16, 2012).




land movement (the uplift or subsidence of the land
surface) (Figure 3). For a great majority of the US
coastline, RSL has been rising over the past 60 years
consistent with the global trend, largely due to limited
vertical land movement (VLM) (Figure 4). In the
following sections, we discuss patterns and possible
causes of changes in RSL and mean sea level anomalies
for different ocean basins adjacent to the US coast.
3.1  Regional patterns in the Pacific Ocean Basin
RSL has varied dramatically due to vertical land
movement across the eastern North Pacific Ocean
(northern California, Oregon, Washington and
Alaska) and to decadal climate variability (Figure 3).
Both tide gauges and satellite altimetry indicate that Figure 4. Number of US tide gauges reflecting RSL variations.
RSL has not been rising along the boundary of the
eastern North Pacific since the early 1980s (Houston
and Dean 2007, Bromirski et al 2011, Merrifield 2011)

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(Figure 5a). In contrast, RSL in the western tropical           Similarly, others have concluded that wind patterns
Pacific (Guam, Kwajalein) has been rising much faster           have contributed to greater RSL rise in the western
than the global trend since the early 1990s (Bromirski          tropical Pacific over the past two decades (Figure 5a)
et al. 2011, Merrifield 2011). Recent studies suggest           (Timmerman et al., 2010; Merrifield, 2011; Merrifield
that wind patterns may be                                                                and Maltrud, 2011; Becker et
a primary cause for these                                                                al. 2012). Merrifield (2011)
variations, though the exact                                                             relates this trend to a steady
causes are a topic of active                                                             increase in the trade winds
investigation.                                                                           since the early 1990s, rather
                                                                                         than to interannual ENSO
Bromirski et al. (2011)                                                                  events (Figure 5a). However,
concluded that RSL trends                                                                Feng et al. (2010) relate this
over the North Pacific are                                                               trend to the PDO and low
affected by wind stress                                                                  frequency ENSO variability.
patterns associated with
the PDO, as well as strong,                                                                The recent shift in the PDO
shorter-term       fluctuations                                                            could      cause     substantial
related to the ENSO (Figure                                                                changes in north Pacific winds
5b, c). When the PDO                                                                       and, consequently, altered RSL
shifts, wind stress shifts                                                                 rise. The rate and magnitude
between the eastern and                                                                    of changes in RSL rise would
western boundary of the                                                                    depend on the magnitude of
North Pacific Ocean. RSL                                                                   changes in the PDO, the speed
rises faster due to greater                                                                and pattern of the trade winds,
wind stress curl, the vertical                                                             and other regional anomalies
component of wind stress                                                                   in wind patterns (Bromirski
(see Appendix 1) (Bromirski                                                                et al. 2011, Merrifield 2011).
et al. 2011). Bromiski et al.                                                              Sea level anomalies related
(2011) attribute the recent                                                                to ENSO along the eastern
trend of below global mean                                                                 Pacific coast can result in as
SLR along the eastern                                                                      much as 20 cm of RSL rise
boundary of the North                                                                      for an entire winter season (a
Pacific to anomalous wind                                                                  period of high tides, storms,
stress curl patterns after the                                                             and large waves) (Bromirski
mid-1970s regime shift in                                                                  et al 2003, Bromirski and
                                 Figure 5. (a) Least squares trends in satellite altimetry
the PDO. Recent levels of sea level height (SLH) across the North Pacific basin over Flick 2008). Regional wind
mean wind stress curl over the 1992 to 2009 time period. Observed tide-gauge               patterns are difficult to
the entire North Pacific sea level monthly anomalies, with 3-yr running means              forecast over longer time scales
basin have approached (red lines) at (b) San Francisco (SFO) and (c) La Jolla (SIO) (decadal to multi-decadal).
pre-regime shift levels, and (locations in (a)). Note the near-zero trend along the US Although global MSL rise is
may signal a return shift in West coast in (a) that is reflected in the SFO and SIO tide a fundamental consideration,
                                 gauge records since about 1980 (Bromirski et al. 2011)
the PDO. Depending on                                                                      RSL height variability along
associated changes in wind                                                                 coasts can be more critical and
patterns, this shift could result in a persistent period         should be taken into account in assessing local impacts,
of RSL rise along the eastern North Pacific that is              particularly in the North Pacific where the amplitude
greater than the global trend (Bromirski et al. 2011).           of interannual variability is high.

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3.2 Regional patterns in the Gulf of Mexico                          over the past 60 years (IPCC 2007a). Satellite records
RSL along the western coast of the Gulf of                           suggest that the average elevation of the sea surface
Mexico (e.g. Texas and Louisiana) has been rising                    in the Gulf of Mexico has increased 3.3 ± 0.4 mm/yr
substantially faster (5 to 10 mm/yr) than the global                 since 1992, with some offshore areas potentially rising
trend (1.7 mm/yr) primarily due to land subsidence.                  as fast as 5.8 mm/yr (Figures 6 and 7). The higher rates
Subsidence rates are highest in the Mississippi River                of RSL rise across the entire basin may be the result of
Deltaic Plain where geologic and human-induced                       multi-decadal variability or large basin oceanographic
factors are compounded. Geological studies suggest                   effects given that the Gulf of Mexico is a large, shallow,
that the entire US Gulf Coast region is subsiding                    semi-enclosed basin.
as a result of glacio-isostatic adjustment (GIA - see                Decadal anomalies in sea level from Galveston, TX
Section 5.1 for further description) (Mitrovica and                  to Wilmington, DE are coherent and range ± 5 cm
Milne 2002, Gonzales and Tornquist 2006). Human                      (Figure 8). While 5 cm of sea level may not seem
induced factors include consolidation of thick layers                significant, water levels exceeding the height of coastal
of loose, unconfined                                                                             protection by this amount
sediments;        aquifer-                                                                       can cause substantial damage.
system compaction due                                                                            As seen in the Pacific Ocean
to fluid withdrawal;                                                                             region, it is important to
and drainage of organic                                                                          consider interannual and
soils.                                                                                           decadal anomalies. Experts
In addition to high rates                                                                        and      decision      makers
of RSL rise, evidence                                                                            developing risk-averse, worst-
suggests that mean sea                                                                           case scenarios in specific
level in the Gulf of                                                                             regions and locations may
Mexico has been rising                                                                           account for the maximum
faster than global trend                                                                         observed anomaly.


                               Figure 6. Sea level change in the Gulf of Mexico basin as
                               determined from a combination of six satellite altimetry
                               records (1993 to 2010).




                               Figure 7. Northcentral Gulf of Mexico satellite altimetry record
                               (1993 to 2011) (Figure source: Brady Couvillion, US Geological
                               Survey, Lafayette, LA).


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3.3 Regional patterns in the US Atlantic                          presence or absence of accelerations in SLR and the
RSL has been rising along the entire US Atlantic                  causal mechanisms remain an area of scientific debate.
coast, and it has been rising faster in the Mid-Atlantic          However, the observed rates of RSL rise and the
region (Virgnia, Maryland, and Delaware including                 evidence presented by Sallenger et al (2012) and more
the Chesapeake Bay) and the Carolinas primarily due               recently by Boon (2012) are sufficient to suggest that
to subsidence (Figure 3) (CCSP 2009). In the Mid-                 experts and decision makers may consider accelerated
Atlantic region, possible causes of subsidence include            rates along the northeastern stretch of coast into their
sediment consolidation, GIA, groundwater extraction,              risk-averse, worst-case scenarios.
and tectonics (Poag et al. 2004, Hayden et al. 2008).
                                                                  4. Global Mean Sea Level Rise Scenarios
GIA is less of a factor in the Carolinas, where possible
causes of subsidence are groundwater extraction and               We have very high confidence (>9 in 10 chance)
sediment compaction.                                              that global mean sea level will rise at least 0.2 meters
                                                                  (8 inches) and no more than 2.0 meters (6.6 feet)
Sallenger et al. (2012) detect a “hotspot” of accelerated         by 2100. Global mean SLR can be estimated from
sea level rise along the 1,000 km of coast from Cape              physical evidence (e.g. observations of sea level and
Hatteras to above Boston and suggest it may be                    land ice variability) (Pfeffer et al. 2008, Katsman et
related to circulation changes in the North Atlantic              al 2011, Jevrejeva et al 2012), expert judgment (NRC
Ocean. Previous analyses along the US Atlantic coast              1987, NRC 2011, NRC 2012), general circulation
using long records of variable length did not detect              models (GCMs) (IPCC 2007a, Yin 2012), and from
this acceleration (Houston and Dean 2011). The                    semi-empirical methods that utilize both observations




Figure 8. Monthly mean tide gauge sea levels from the Gulf of Mexico (Galveston, TX) to the western North Atlantic
(Wilmington, DE). A mean annual cycle and trend are removed, and each series is low-passed with a convolution filter passing
>90% amplitude at periods longer than 1.9 years (Thompson 2011).




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and GCMs (Grinsted et al. 2009, Jevrejeva
et al. 2010, Vermeer and Rahmstorf
2009, Horton et al. 2008, Rahmstorf et
al 2012). We base our confidence in the
range of estimated global mean SLR on
a wide range of the estimates reflected in
the scientific literature (Figure 9), using
guidance set forth by the NCA (Moss and
Yohe 2011, IPCC 2001 and 2007a) (Table
1). This approach has also been applied
by the New York City Panel on Climate
Change (NPCC 2010).
In recent decades, the dominant
contributors to global SLR have been
ocean warming and ice sheet loss. Many
previous studies, including the IPCC,                  Figure 9. End of century (~2090 – 2100) estimates for global mean
assume ocean warming to be the dominant                sea level rise in meters. Meehl et al (2007) is based on climate model
contributor. However, the NRC (2012)                   projections for the IPCC and outlined in black. NRC (1987, 2011, and 2012)
recently reports that advances in satellite            is based on synthesis of the scientific literature and shown in light gray.
                                                       Vermeer and Rahmstorf (2009), Horton et al (2008), Jevrejeva et al (2010),
measurements indicate ice sheet loss as
                                                       Grinsted et al (2009) are based on semi-empirical approaches and shown
a greater contributor to global SLR than               in dark gray. Pfeffer et al (2008) is a calculation of the maximum possible
ocean warming over the period of 1993                  contribution from ice sheet loss and glacial melting and shown in black.
to 2008. Our scenarios are based on four
estimates of global SLR by 2100 that reflect
different degrees of ocean warming and ice
sheet loss (Table 2 and Figure 10).
Table 1. Confidence in the validity of a finding by considering (i) the quality of the evidence and (ii) the level of agreement
among experts with relevant knowledge (based on Moss and Yohe 2011).


  Confidence
                                                          Possible Contributing Factors
    Level

                     Strong evidence (established theory, multiple sources, consistent results, well documented
 Very High
                     and accepted methods, etc.), high consensus

                     Moderate evidence (several sources, some consistency, methods vary and/or
 High
                     documentation limited, etc.), medium consensus

                     Suggestive evidence (a few sources, limited consistency, models incomplete, methods
 Medium
                     emerging, etc.), competing schools of thought

                     Inconclusive evidence (limited sources, extrapolations, inconsistent findings, poor
 Low                 documentation and/or methods not tested, etc.), disagreement or lack of opinions
                     among experts




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4.1  Key Uncertainties on the Global SLR Scenarios                   situations where there is little tolerance for risk (e.g.
At this stage, the greatest uncertainty surrounding                  new infrastructure with a long anticipated life cycle
estimates of future global SLR is the rate and magnitude             such as a power plant).
of ice sheet loss, primarily from Greenland and West                Our Intermediate-High Scenario is based on an
Antarctica. Our Highest Scenario of global SLR by                   average of the high end of semi-empirical, global
2100 is derived from a combination of estimated ocean               SLR projections (Grinsted et al. 2009, Jevrejeva et al.
warming from the IPCC AR4 global SLR projections                    2010, Vermeer and Rahmstorf 2009, Horton et al.
and a calculation of the maximum possible glacier and               2008). Semi-empirical projections utilize statistical
ice sheet loss by the end of the century (Pfeffer et al             relationships between observed global sea level change,
2008). The Highest Scenario should be considered in                 including recent ice sheet loss, and air temperature.
                                                                            Our Intermediate-Low Scenario is based on
Table 2. Global SLR Scenarios                                               the upper end of IPCC Fourth Assessment
                                                                            Report (AR4) global SLR projections
        Scenario             SLR by 2100 (m)*         SLR by 2100 (ft)*     resulting from climate models using the B1
                                                                            emissions scenarios. The Intermediate-High
 Highest                               2.0                   6.6            Scenario allows experts and decision makers
 Intermediate-High                     1.2                   3.9            to assess risk from limited ice sheet loss. The
 Intermediate-Low                      0.5                   1.6            Intermediate Low Scenario allows experts and
                                                                            decision makers to assess risk primarily from
 Lowest                                0.2                   0.7
                                                                            ocean warming.
* Using mean sea level in 1992 as a starting point.




Figure 10. Global mean sea level rise scenarios. Present Mean Sea Level (MSL) for the US coasts is determined from the
National Tidal Datum Epoch (NTDE) provided by NOAA. The NTDE is calculated using tide gauge observations from 1983
– 2001. Therefore, we use 1992, the mid-point of the NTDE, as a starting point for the projected curves. The Intermediate
High Scenario is an average of the high end of ranges of global mean SLR reported by several studies using semi-empirical
approaches. The Intermediate Low Scenario is the global mean SLR projection from the IPCC AR4 at 95% confidence interval.

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The Lowest Scenario is based on a linear extrapolation               A growing body of recently published work suggests
of the historical SLR rate derived from tide gauge                   that, due to increasing loss, the great polar ice sheets
records beginning in 1900 (1.7 mm/yr). Global sea                    in Greenland and Antarctica will become much more
level has risen 0.2 meters (8 inches) over this period               significant contributors to global SLR in the future
of record, and we anticipate at least another 8 inches               (e.g., Rignot et al. 2011, Vermeer and Rahmstorf 2009,
by 2100. The rate of global mean SLR derived from                    Van den Broeke et al 2011, NRC 2012). Ice sheet
satellite altimetry (1992 to 2010) has been substantially            contributions to global mean SLR stem from mass loss
higher (3.2 mm/yr), approaching twice the rate of the                brought about by melting and discharge of ice into the
longer historical record from tide gauges. However,                  ocean at marine-terminating glaciers and ice streams
the 18-year altimeter record is insufficient in duration             (NRC 2012). Multiple reports indicate that mass loss
for projecting century-scale global SLR. Trends                      of both the Greenland and Antarctic ice sheets may
derived from the shorter records are less reliable as                have accelerated over the past two decades, despite
projections because they are affected by interannual                 high inter-annual variability in space and time (Chen
and decadal climate and oceanographic patterns that                  et al. 2011, Rignot et al. 2011, Van den Broeke 2011,
are superimposed upon the long-term rise of global sea               NRC 2012). For example, regional variability of mass
level. The Lowest Scenario should be considered where                loss from the Greenland ice sheet (GIS) over the past
there is a great tolerance for risk.                                 few years shows that areas of accelerating deterioration
                                                                     changed from the southeast part of the ice sheet to the
There is a highly significant correlation between                    northwest part, suggesting high sensitivity of the GIS
observations of global mean SLR and increasing global                to regional climate (Chen et al. 2011). In Antarctica,
mean temperature (Vermeer and Rahmstorf 2009,                        ice loss is occurring in some coastal areas, and ice
Rahmstorf et al. 2011), and the IPCC (2007a) and                     accumulation is occurring in interior Antarctica.
more recent studies (Schaeffer et al. 2012) anticipate               While the balance between ice loss and accumulation
that global mean sea level will continue to rise even if             remains an area of investigation, recent observations
warming ceases. Our Highest Scenario is an upper limit               suggest that ice loss has been greater (King et al. 2012).
for SLR by 2100, but the possibility exists that SLR
could exceed this limit beyond this timeframe (Pfeffer et            Most of the ice loss in Antarctica has come from the
al 2008). Our Intermediate-Low and Lowest Scenarios                  West Antarctic ice sheet (WAIS; Rignot et al. 2008).
are optimistic scenarios of future environmental change              A significant portion of the WAIS is floating at or
assuming rates of ice sheet loss and ocean warming                   grounded below sea level, as are relatively smaller parts
slightly higher or similar to recent observations.                   of the ice sheets in East Antarctica and Greenland.
                                                                     Floating ice shelves support land-based ice sheets.
4.2 Ice Sheet Loss                                                   Current and future ocean warming below the surface
Other studies (e.g. Rohling et al. 2008) have arrived                make ice shelves susceptible to catastrophic collapse,
at even greater estimates of future global mean SLR                  which in turn can trigger increased ice discharge to the
than our Highest Scenario, but we are not confident                  ocean (Rignot et al. 2004, Scambos et al. 2004, Jacobs
in the plausibility of those estimates at this time.                 et al. 2011, Joughlin and Alley 2011, Yin et al. 2011).
The IPCC AR4 produced some of the more widely                        Better understanding of how the polar ice sheets will
used projections of global SLR for the 21st century                  respond to further changes in climatic conditions over
(IPCC 2007a). The IPCC projections included ocean                    the 21st century requires continued development of
warming, contributions from glaciers, and modeled                    physical models (Price et al. 2011).
partial ice sheet contributions. The IPCC AR4
                                                                     Ice sheet losses will lower the gravitational attraction
estimates did not include, however, potential rapid
                                                                     ice sheets have for surrounding seas, producing
dynamic response of Greenland and Antarctic Ice
                                                                     spatial variability in changes to global mean sea level
Sheets as reflected in our Highest Scenario.


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(Kopp et al. 2010; Mitrovica et al. 2001; Mitrovica         associated with the mid-point of the NTDE, which
et al. 2009). Although seemingly counterintuitive,          is the year 1992. As the mid-point for the NTDE,
sea level falls close to deteriorating ice sheets even      1992 is selected as the start-point for our scenarios
though ice sheet losses are discharged into the adjacent    (Figure 10, also see Flick et al. 2012).
sea. This lowering of sea level is due to gravitational
effects that can cause SLR up to ~2,000 km from the         As described above, the Lowest Scenario is a
melting ice sheet. SLR resulting from deterioration         linear extrapolation of the historic trend of 20th
of the GIS is thought to be relatively lower than the       century tide gauge measurements. In contrast, the
global average for the contiguous US, Alaska, and US        Highest, Intermediate-High and Intermediate-Low
territories in the Caribbean Sea and relatively higher      Scenarios represent possible future acceleration in
for Hawaii and US territories in the Pacific Ocean          global mean sea level rise and thus are not described
(Kopp et al. 2010). SLR resulting from deterioration        by linear relationships. To represent the non-linear
of the WAIS is thought to be relatively higher than the     trajectory of SLR in these scenarios, the NRC
global average for all states and territories of the US     (1987) and USACE (2011) scheme is adopted,
(Mitrovica et al. 2009).                                    wherein the future global mean SLR is represented
                                                            by the following quadratic equation:
4.3 Methods for Constructing Scenario Data
                                                                         E(t) = 0.0017t + bt2       (1)
Both the rate and magnitude of SLR are important
for vulnerability and impact assessment because,            in which t represents years, starting in 1992, b is a
as mentioned below, the time horizon is a critical          constant, and E(t) is the eustatic SLR, in meters, as
factor affecting risk tolerance for coastal management      a function of t. To fit the curves to our scenarios, as
actions. Even long-term coastal management actions          defined above, the constant b has a value of 1.56E-
(e.g. coastal habitat restoration) are sensitive to near-   04 (Highest Scenario), 8.71E-05 (Intermediate-
term rates and amounts of SLR. To address these             High Scenario), and 2.71E-05 (Intermediate-Low
considerations, we provide the following methodology        Scenario). It should be emphasized that this
for creating curves, anchored to a specific date, and       straightforward quadratic approach to the time
yielding estimates for specific time horizons.              evolution is chosen in part for its simplicity; there is
                                                            no scientific reason or evidence to assume that SLR
Future estimates for global mean SLR are relative           will evolve in precisely this smooth manner.
to the current elevation of global mean sea level.
It is important to select a starting point in time          If it is necessary to estimate a projected rise in global
from which to move forward with the scenarios.              mean sea level for any of the scenarios, but starting in
Present Mean Sea Level (MSL) for the US coasts              a year more recent than 1992, the following equation
is determined from long-term NOAA tide gauge                can be used:
records and is referenced to the current National           E(t2) – E(t1) = 0.0017(t2 – t1) + b(t2 – t1)2        (2)
Tidal Datum Epoch (NTDE) provided by NOAA.
The NTDE is a 19-year period with the current               where t1 is the time between the beginning year of
NTDE being 1983 to 2001. NOAA uses the                      interest and 1992 and t2 is the time between the
NTDE as the basis for all tidal datums (i.e., Mean          ending year of interest and 1992 (Knuuti 2002, Flick
High Water and Mean Lower Low Water) and uses               et al. 2012). For example, global mean SLR for any
NTDE MSL as the reference for presentation of               of the accelerating scenarios can be calculated over the
RSL trends (Figure 3). MSL for the NTDE is the              period of time between 2011 and 2050 by using t1 =
mean of hourly heights observed over the entire 19-         2011-1992 = 19 years and t2 = 2050-1992 = 58 years.
year period. Because mean sea level is an average
over the 19-year NTDE, the mean sea level value is


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5. Enhancing the Global SLR Scenarios                                economy and thus may be protected with a low tolerance
                                                                     for projected long-term, regional, or global scale
The development of sea level change scenarios (global,
                                                                     impacts (e.g. a large levee). Such levels of protection,
regional, and local) is an initial stage in conducting
                                                                     however, may have adverse effects on adjacent parts of
coastal vulnerability assessments (Figure 11). We
                                                                     the coast or create a false sense of reduced risk if sea
recommend that the choice of scenarios involve
                                                                     level rises and coastal flooding increases (Smits et al.
interdisciplinary scientific experts, as well as coastal
                                                                     2006, Parris and Lacko 2009).
managers and planners who understand relevant
decision factors. Three decision factors generally                 Additional information should be combined with
considered in the choice of sea level scenarios are:               the global scenarios to incorporate regional and local
location, time horizon, and risk tolerance (Mote 2008).            conditions when conducting risk analysis. These
                                                                                   factors include regional mean sea level
                                                                                   variability, local and regional vertical
                                                                                   land movement, coastal environmental
                                                                                   processes      (geological,    ecological,
                                                                                   biological, and socio-economic), and the
                                                                                   effect of extreme weather and climate
                                                                                   on RSL. Much of this information is
                                                                                   being prepared for the NCA, including
                                                                                   scenarios of climate, land-use/land
                                                                                   change, and different socio-economic
                                                                                   conditions as well as analysis of changes
                                                                                   in extreme weather and climate. The
                                                                                   NOAA Coastal Services Center and the
                                                                                   USGS also provide access to information
                                                                                   via Digital Coast, including two
                                                                                   companion reports on developing sea
Figure 11. Developing sea level scenarios (Nicholls et al 2011). MSL – mean sea    level scenarios (NOAA 2012, NOAA
level; ESL – Extreme sea level.                                                    2010). As mentioned previously,
                                                                                   regional and local sea level scenarios are
Location refers to the planning or management area                 beyond the scope of this report. We provide Table 3 as
for which assessment or analysis is being conducted.               a basic template for those people who wish to build on
Time horizon refers to the committed life span of a                our scenarios.
particular use in a coastal area and varies depending
on whether you are planning temporary flood control,               5.1  Vertical Land Movement (VLM)
building long-term infrastructure such as an airport               Regional and local sea level scenarios should account
or shipyard, or restoring or preserving ecosystem                  for vertical land movement. Following the last glacial
function. Finally, risk tolerance refers to a community’s          maximum, the Earth’s crust3 began to rise in response
or decision maker’s willingness to accept a higher or              to earlier subsidence under the weight of the ice.
lower probability of impacts.                                      This process, post-glacial rebound, varies across the
Risks associated with SLR may not be evident when                  continent and may be a significant factor in vertical
considering sea level change in isolation from climate             land movement in some areas. It is typically accounted
or over a narrowly defined coastal planning area. Power            for by estimating GIA.
stations or airports at specific locations along the coast           3
                                                                          ontinental crust - The crust is the solid, outermost layer of the Earth
                                                                         C
may be critically important to the regional or national                  that makes up the continents (continental crust), including mountain
                                                                         ranges, and that lies beneath the oceans (oceanic crust).

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GIA refers to the rise of the Earth’s crust that was                    at rates of mm-per-year. As a result, it is necessary to
depressed by the weight of continental ice sheets during                consider GIA in the analysis of sea level observations
the last glacial maximum (Appendix 1; Lambeck et                        and trends. Recent progress in GIA models has
al. 2010, Mitrovica et al. 2010). The reaction of the                   reduced uncertainties in ice load history and mantle
Earth’s crust to ice load changes is a relatively slow and              viscosity, improving interpretations of sea level analyses
delayed process dependent upon the viscosity of the                     (Mitrovica et al. 2010, Peltier 2004).
mantle, on which the Earth’s crust rests. This reaction
continues long after ice sheets melt and water volumes                            The contribution of GIA to net changes in RSL varies
stabilize. For example, the continental crust is still                            for much of the US coastline and its island territories,
                                                                                  with modeled rates ranging from +0.5 to +2.0 mm/yr for
Table 3. Template for developing regional or local sea level scenarios                                           much of the mainland
                                                                                                                 and northern Alaska
                                                            Scenarios of Sea Level Change                        (Figure 12). Portions
                                                                                                                 of the Northeast and
    Contributing Variables                                                                                       Northwest mainland
                                               Lowest Intermediate- Intermediate- Highest
                                              Scenario Low Scenario High Scenario Scenario                       coasts have modeled
                                                                                                                 rates at the upper end
    Global mean sea level rise* (m)                0.2                0.5                  1.2           2.0     of this range. Rates vary
                                                                                                                 from slightly positive
    Vertical Land Movement                                                                                       to slightly negative for
    (subsidence or uplift)**                                                                                     only the most southern
                                                                                                                 and northern latitudes
    Ocean Basin Trend***
    (from tide gauges and satellites)
                                                                                                                 of the mainland, as
                                                                                                                 well as for much of
    Total Relative Sea Level Change                                                                              Alaska and the island
                                                                                                                 states and territories.
    Extreme Water Level (from                                                                                    Southern Alaska is the
    existing flood models or                                                                                     only region that shows
    long-term tide gauges)                                                                                       locations with a falling
* Equations from Section 4.3 can be used to calculate scenarios of sea level change over desired period         RSL due to GIA effects,
   and to populate the global mean SLR term in the first row.                                                    with modeled rates
** This row can be populated using, in part, the information found in Sections 5.1.                              between -0.5 and -1.7
*** This row can be populated using, in part, the information found in Sections 3.1, 3.2, 3.3 and 5.3.
                                                                                                                 mm/yr at a few sites.
experiencing post-glacial rebound from the reduction                    With the advent of Global Positioning Systems (GPS),
of ice sheets present during the last glacial maximum,                  precise spatial estimates of vertical and horizontal land
which occurred approximately 21,000 years ago.                          movement are becoming available. Using over three
Surface deformations from VLM induced by GIA                            hundred and sixty GPS sites in Canada and United
can raise or lower RSL, depending on the proximity                      States, Sella et al. (2007) produced a map of “vertical
to the prior ice sheet (Lambeck et al. 2010, Mitrovica                  velocities” which may be used to understand the
et al. 2010). Glacial rebound in North America is                       rates of VLM that vary within an order of magnitude
largest around Hudson Bay, where the former ice sheet                   along much of the coastal region of the east and the
was both centered and thickest. Meanwhile, land is                      south (Figure 13). Most of the GPS measurements
subsiding further south at and beyond the edges of                      demonstrated consistency with GIA models. The
the former ice sheet, in response to the rebound to                     magnitude of subsidence along the eastern US is about 1
the north. GIA is changing coastal land elevations                      to 2 mm. The international community has recognized

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          Figure 12. Contribution of GIA to net changes in RSL varies for much of the US coastline Alaska (A), Hawaii
          (B), Puerto Rico and the US Virgin Islands (C), and the contiguous US (D), as predicted by the ICE-5G(VM2)
          model (Peltier 2004). Rate locations are tide gauge sites in the Permanent Service for Mean Sea Level
          (PSMSL) dataset. Values account for sharp coastal gradients through use of a high spatial resolution model,
          and represent rates averaged over the 20th and 21st centuries. For US territories not shown, rates fall
          within the -0.5 to +0.5 mm/yr range.

the need to upgrade the observational infrastructure to              they are caused by significant tectonic activity in the
include co-location of continuous GPS receivers and                  region as well as post-glacial rebound (Larsen et al.
tide gauges (see Continuous GPS Update). Nationally,                 2003, Larsen et al. 2007).
NOAA has recognized the need to co-locate these
systems as much as possible and has already integrated               Recent geodetic studies clearly document non-GIA
repeat static GPS measurements on tidal benchmarks as                VLM and/or RSL trends over spatial scales approaching
part of the operation and maintenance of the National                100s of kilometers. For example, traditional geodesy
Water Level Observation Network (NWLON).                             and continuous global positioning systems (GPS)

At some locations along the coastline, VLM may
be exacerbated by factors other than GIA. Other
factors of VLM include, but are not limited to: plate
tectonics; natural compaction of thick layers of loose,
unconsolidated sediments; sediment compaction due
to excessive withdrawal of groundwater, oil, or gas;
and subsidence due to oxidation of organic soil. Sun
et al. (1998) indicate that land subsidence due to
groundwater withdrawal in southern New Jersey has
increased from 2 cm to 3 cm over the past 40 years.
Along the Gulf coast states, subsidence is widespread
extending beyond the Mississippi Delta to Mississippi
and the estimated rates are as high as 25 mm/year
with much of the delta subsiding at 5 to 10 mm/yr                    Figure 13. Vertical GPS site motions
                                                                     with respect to IGb00 (a reference plane)
(Gonzalez and Tornqvist 2006, Shinkle and Dokka                      as estimated by Sella et al. (2007).
2004). In Alaska, the uplift rates are much higher as

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studies in the Cascadia subduction zone (Cascadia)            sea level anomalies related to ENSO along the eastern
that spans CA, OR, and WA suggest regional uplift             Pacific coast can result in as much as 20 cm of RSL
signals in the range of 1 to 3mm/yr (Burgette et al.          rise for an entire winter season (a period of high tides,
2009, Mazzotti et al. 2007). Whether this rate is             storms, and large waves) (Bromirski and Flick 2008).
constant over time depends on earthquake variability          In the San Francisco Bay, global mean SLR and the
in Cascadia (Wang et al. 2003, Wang 2007). However,           ENSO related anomaly are projected to increase the
modern, observable rates in Cascadia essentially negate       number of sea level extremes (Cayan et al. 2008).
global mean SLR in Alaska and parts of Washington
and Oregon. More detailed VLM data are provided for           Coastal vulnerability assessments in some urban centers
specific areas in California, including the San Francisco     of the US have incorporated SLR and climate scenarios
Bay area and the Los Angeles Basin (Burgmann et al.           into probabilistic flood projections. For example, the
2005; Brooks et al. 2007). Deep subsidence in the             return period concept used in flood control projects
Gulf of Mexico has been linked to a combination of            provides a risk-based approach to select design flood
groundwater withdrawal, regional tectonic loading on          conditions based on probability of occurrence (Horton
the Earth’s crust from the Mississippi River Delta, and       et al 2010, Knowles 2010). The occurrence of storm
possibly faulting (Dokka 2011).                               surges and high tides have been incorporated into a
                                                              Joint Probability Method (JPM) in an effort to provide
5.2 Extremes of Weather and Climate                           probabilistic projections of extreme levels, but the
Coastal managers are most immediately concerned               JPM methods do not account for future changes in sea
with the effect that global, regional, and RSL changes        level and runoff due to climate change (Tomasin and
have on coastal flooding. In addition to changes in           Pirazzoli 2008, Liu et al. 2010). These methodologies
mean sea level, consideration of future extremes is           may be particularly useful for incorporating sea level
vitally important for planning and design of coastal          into a risk management framework as part of any
infrastructure (Zhang et al. 2000). SLR can amplify           assessment process.
factors that currently contribute to coastal flooding:        5.3 Dynamic Changes in Ocean Circulation
high tides, storm surge, high waves, and high runoff
from rivers and creeks (Cayan et al. 2008). All of these      Regional and local sea level change scenarios also
factors change during extreme weather and climate             should reflect dynamic changes in ocean circulation,
events and often have disproportionately high impacts         ice sheet losses, and mass redistributions associated
in most coastal regions. Although a consensus has not         with ice sheet losses, though this information
yet been reached on how the frequency and magnitude           is very limited at present. Climate models have
of storms may change in coastal regions of the US, it is      forecast the slowing of the overturning circulation
certain that higher mean sea levels increase the frequency,   in the Atlantic from warming seawater in the north
magnitude, and duration of coastal flooding associated        Atlantic, introduction of fresh water from GIS, and
with a given storm. Thus, considering the impact of           other sources. These factors could slow the boundary
different weather events combined with scenarios of           currents along the US east coast and raise sea levels
sea level change is crucial in developing hazard profiles     in the northeast (Yin et al. 2009, Yin et al. 2010).
for emergency planning and vulnerability, impact, and         These changes are not entirely independent from ice
adaptation assessments.                                       sheet loss, and can exacerbate or attenuate rises in sea
                                                              level, depending on the region. Climate models forced
Several studies indicate that the number and duration         by the SRES A1B scenario reveal a potential slowing
of extreme high-water events increase during Atlantic         in the Atlantic meridional overturning circulation
Multidecadal Oscillation (AMO) warm phases                    (AMOC) and regional thermosteric and halosteric
around the Florida Peninsula (Park et al 2010a, Park et       changes (Yin et al. 2010). Dynamical SLR resulting
al 2010b, Park et al 2011). As mentioned previously,          from ocean circulation patterns could be additive to


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the global mean SLR trend, creating even higher sea                  6. Conclusions
levels and potential coastal impacts in Boston, New                  Based on a large body of science, we identify four
York, and Washington, DC when compared to the                        scenarios of global mean SLR ranging from 0.2 meters
Southeastern US (Yin et al. 2010).                                   (8 inches) to 2.0 meters (6.6 feet) by 2100. These
5.4 Other stressors related to Coastal Vulnerability                 scenarios provide a set of plausible trajectories of global
                                                                     mean SLR for use in assessing vulnerability, impacts,
Coastal land use and landforms affect inundation                     and adaptation strategies. None of these scenarios
patterns on the coast. In addition to the aforementioned             should be used in isolation, and experts and coastal
factors, a number of local coastal processes determine               managers should factor in locally and regionally specific
the configuration of coastal landforms (e.g. beach                   information on climatic, physical, ecological, and
profiles, sea cliffs, barrier islands, marshes, atolls, etc.;        biological processes and on the culture and economy
see CCSP 2009). Specific locations where these factors               of coastal communities. Scientific observations at the
dominate coastal processes are difficult to integrate                local and regional scale are essential to action, but
into scenarios of environmental change (Cloern                       global phenomena, such as SLR, can influence those
et al 2011). They should at least be considered in                   conditions creating unanticipated impacts at the local
determining vulnerability and impacts. These factors                 scale, especially over longer time horizons. Thousands
vary substantially among US coastal areas and include,               of structures along the US coast are over fifty years
but are not limited to:                                              old including vital storm and waste water systems.
	 •  Sediment supply to the coast and associated                    Thus, coastal vulnerability, impact, and adaptation
      transport along the coast                                      assessments require an understanding of the long-term,
	 •  Elevation and range of tides                                   global and regional drivers of environmental change.
	 •  Wave height, period, and slope of the shoreline
	 •  Sediment accumulation rates – physical and
      biogeochemical
	 •  Presence or absence and configuration of barriers,
      whether human-made or natural, to coastal
      flooding and to constraints on shoreline change
	 •  Permafrost decline – a unique driver of coastal
      elevation change in northern Alaska that controls,
      in some locales, the retreat of coastal bluffs.




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Appendix
Sources for Appendix Definitions
NOAA Center for Operational Oceanographic Products and Services
   http://tidesandcurrents.noaa.gov/est/faq.shtml#q1
American Meteorological Survey (AMS) Glossary of Meteorology
     http://amsglossary.allenpress.com/glossary
     Accessed October 27, 2011
National Geodetic Survey
     http://www.ngs.noaa.gov/GEOID/geoid_def.html
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NOAA AOML
   http://www.aoml.noaa.gov/phod/amo_faq.php
   Accessed April 27, 2012; NOAA
CPC
      http://www.cpc.ncep.noaa.gov/products/analysis_monitoring/ensostuff/ensofaq.shtml#ENSO
      Accessed April 27, 2012;
USGS Earthquake Hazards program
    http://earthquake.usgs.gov/learn/glossary/?term=subduction
    Accessed April 27, 2012


Glossary of Terms
Anomaly – A mean sea level anomaly occurs when the 5-month average of the interannual variation is greater
than 0.1 meters (4 inches) or less than -0.1 meters.
Atlantic Meridional Overturning Circulation (AMOC) – The Meridional Overturning Circulation (MOC)
is part of the global ocean circulation responsible for large-scale (on the order of 1000 km), low-frequency
(interannual to multi-decadal), full-depth, meridional flux of mass, heat and freshwater. The Atlantic
component of this circulation, the Atlantic Meridional Overturning Circulation (AMOC), has long been
considered the dominant element of the MOC, in large part because the majority of water masses that compose
the lower limb of the overturning circulation originate in the North Atlantic. (U.S. CLIVAR AMOC Planning
Team, 2007: Implementation Strategy for a JSOST Near-Term Priority Assessing Meridional Overturning
Circulation Variability: Implications for Rapid Climate Change. U.S. CLIVAR Report 2007-2, U.S. CLIVAR
Office, Washington, DC, 20006, 23pp.)
Atlantic Multidecadal Oscillation (AMO) – The AMO is an ongoing series of long-duration changes in the sea
surface temperature of the North Atlantic Ocean, with cool and warm phases that may last for 20-40 years at a
time and with a difference of about 1°F between extremes. These changes are natural and have been occurring for
at least the last 1,000 years.
El Niño Southern Oscillation (ENSO) – The ENSO cycle refers to the coherent, and sometimes very strong,
year-to-year variations in sea-surface temperatures, convective rainfall, surface air pressure, and atmospheric
circulation that occur across the equatorial Pacific Ocean. El Niño and La Niña represent opposite extremes in
the ENSO cycle.


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Eustatic sea level rise – Eustatic sea level rise is a change in global average sea level brought about by an increase
in the volume of the world ocean (IPCC 2007b)
Geoid – The equipotential surface of the Earth’s gravity field which best fits, in a least squares sense, global mean
sea level.
Global mean sea level (GMSL) – Average height of the Earth’s oceans. Global mean sea level can change globally
due to (i) changes in the shape of the ocean basins, (ii) changes in the total mass of water (see eustatic sea level rise
below) and (iii) changes in water density. Sea level changes induced by changes in water density are called steric.
Density changes induced by temperature changes only are called thermosteric, while density changes induced by
salinity changes are called halosteric (IPCC 2007b)
Joint Probability Method – Joint Probability Method refers to flood risk calculations using multiple variables,
such as waves, sea level, river flow, and rainfall, to develop probabilities of flooding.
Local sea level (LSL) – The height of the water as measured along the coast relative to a specific point on land.
Mean Sea Level (MSL) – Refers to a tidal datum, or frame of vertical reference defined by a specific phase of the
tide. Tidal datums are locally-derived based on observations at a tide station, and are typically computed over a
19-year period, known as the National Tidal Datum Epoch (NTDE). The present 19-year reference period used
by NOAA is the 1983-2001 NTDE. Tidal datums must be updated at least every 20-25 years due to global sea
level rise. Some stations are more frequently updated due to high relative sea level trends.
Pacific Decadal Oscillation (PDO) – The Pacific Decadal Oscillation (PDO) is the predominant source of
inter-decadal climate variability in the Pacific Northwest (PNW). The PDO (like ENSO) is characterized by
changes in sea surface temperature, sea level pressure, and wind patterns (Mantua 1997).
Relative sea level (RSL) – The height of the sea with respect to a specific point on land.
Steric (Halosteric & Thermosteric) Sea level changes induced by changes in water density are called steric.
Density changes induced by temperature changes only are called thermosteric, while density changes induced
by salinity changes are called halosteric.
Subduction – Subduction is the process of the oceanic lithosphere colliding with and descending beneath the
continental lithosphere.
Wind stress – The resistance per unit area caused by wind shear. For example, the wind stress on the sea surface
applies a friction force that can drive ocean currents.
Wind stress curl – The vertical component of the (mathematical) curl of the surface wind stress. The large-scale,
long-term averaged wind stress curl contains the principal information needed to calculate the wind-driven
mass transport.




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